
PER CURIAM.
Due to Appellant's apparent abuse of the legal process by his repeated meritless, frivolous pro se filings attacking his judgment and sentence in Orange County Circuit Court Case Number 2009-CF-10484, this Court issued an order on December *28726, 2018, directing Appellant to show cause why he should not be prohibited from future pro se filings. See State v. Spencer , 751 So.2d 47, 48 (Fla. 1999). Having carefully considered Appellant's response and finding it fails to show cause why sanctions should not be imposed, we conclude that he is abusing the judicial process and should be barred from further pro se filings regarding the above referenced case.
Therefore, in order to conserve judicial resources, Appellant is hereby prohibited from filing with this Court any further pro se filings concerning the above referenced case. The Clerk of this Court is directed not to accept any further pro se filings concerning the referenced case. Any future filings regarding the referenced case will be summarily rejected by the Clerk, unless filed by a member in good standing of The Florida Bar. See Isley v. State , 652 So.2d 409, 411 (Fla. 5th DCA 1995) ("Enough is enough.").
Should Appellant ignore the above imposed sanction and requirement that further pleadings be signed by a member in good standing of the Florida Bar, this Court will direct the Clerk to provide a certified copy of this opinion and any subsequent, related opinions to the appropriate institution for consideration of disciplinary action against Appellant. See § 944.279(1), Fla. Stat. (2018) ; Simpkins v. State , 909 So.2d 427, 428 (Fla. 5th DCA 2005).
BERGER, EDWARDS and EISNAUGLE, JJ., concur.
